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  13
  14                 IN THE UNITED STATES DISTRICT COURT
  15               FOR THE CENTRAL DISTRICT OF CALIFORNIA
  16
        TRANSFORM PARTNERS LLC                    No. 2:23−cv−05982−GW−SHKx
  17
                    Plaintiff,                    JOINT STATUS REPORT
  18
              v.
  19                                              Hon. George H. Wu
  20    DBEST PRODUCTS, INC., and
        RICHARD ELDEN,
  21
                    Defendants.
  22
  23    DBEST PRODUCTS, INC.
                 Counterclaim Plaintiff,
  24          v.
  25
  26    TRANSFORM PARTNERS LLC
                Counterclaim Defendant.
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   1         Pursuant to the Court’s February 21, 2024 Order regarding a
   2   post-mediation status conference (Dkt. No. 47), the parties hereby submit this
   3   Joint Status Report.
   4         The parties have executed a confidential settlement agreement. Pursuant
   5   to the settlement agreement, the parties will file a joint stipulation of dismissal
   6   with prejudice by March 21, 2024.
   7
   8                                          Respectfully submitted,
   9                                          KNOBBE, MARTENS, OLSON & BEAR, LLP
  10
  11   Dated: March 7, 2024                   /s/ Nicholas M. Zovko
  12                                          Nicholas M. Zovko
                                              Brian C. Claassen
  13
  14                                          Attorneys for Plaintiff
                                              Transform Partners LLC
  15
  16
                                              ORBIT IP, LLP
  17
  18
  19   Dated: March 7, 2024                   /s/ Ehab M. Samuel
                                              Ehab M. Samuel
  20                                          David A. Randall
  21
  22                                          Attorneys for Defendants
  23                                          dbest products, Inc. and Richard Elden

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   1                                   ATTESTATION
   2         Pursuant to L.R. 5-4.3.4(a)(2)(i), I, Nicholas M. Zovko, attest that all other
   3   signatories listed above, and on whose behalf the filing is submitted, concur in
   4   the filing’s content and have authorized the filing.
   5
       Dated:                                   By: /s/ Nicholas M. Zovko
   6                                                 Nicholas M. Zovko
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